                                   STATEMENT OF FACTS

         Your affiant,                is a Special Agent assigned to the Tampa Field Office of the
Federal Bureau of Investigation. In my duties as a special agent, I investigate individuals engaged
in violent crime and domestic terrorism as defined in Title 18, United States Code, Section 2331
(5). I have led and participated in numerous criminal investigations, and have received specialized
training in the investigation of domestic terrorism cases. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.



                                                 1
        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                    Facts Specific to Lin Marie Carey

        The FBI received a tip that LIN MARIE CAREY (“CAREY”) had entered the U.S. Capitol
building on January 6, 2021 and posted a live video from inside the Rotunda on her Facebook
page. The same tipster also reported that Carey had written a long post on Facebook describing, in
part, her actions inside the U.S. Capitol building. After receiving this tip, I interviewed CAREY
at her residence on January 14, 2021. During the course of my investigation, I also reviewed
information from Facebook, Apple, and Close-captioned video (“CCTV”).

                                  Carey’s Journey to Washington, D.C.

        During her interview with me, CAREY stated that she learned through social media groups
that buses were being organized to go to Washington D.C. on January 6, 2021 for the Trump rally
on January 6, 2021. She stated that she signed up through an Eventbrite website, and paid $115
for the bus ticket. She further stated that on January 5, 2021, the buses departed from Seed to
Table – which I learned is a grocery store in Naples, Florida – at approximately 6:00 a.m.

       CAREY stated that she only knew about four to five other people on the bus from her
Centerpoint Community Church group. CAREY stated that there were approximately 95 people
between two buses. CAREY stated that these buses arrived at Union Station in Washington, D.C.
at approximately 4:00 a.m. on January 6, 2021. CAREY provided me with a video she recorded
of herself wearing a red beanie, dark framed glasses, a scarf, and a black zip up jacket. On the
same video, CAREY stated that the group was on their way to “Ellipse Park” where then-President
Trump was going to give his speech at 9 [a.m.].

                            Carey’s Activity Before Entering the U.S. Capitol

        CAREY went to the East side of the U.S. Capitol, which was barricaded by bicycle racks.
CAREY provided me with a video that she recorded and narrated from the East side of the U.S.
Capitol at the time that individuals broke through the bicycle rack barriers. While filming this
video, CAREY moved toward the area where the bicycle racks were breached and walked to the
steps of the East side of the U.S. Capitol. On this same video, CAREY filmed police officers
standing on the steps of the U.S. Capitol who stood facing the crowd of individuals who were
chanting “Stop the Steal!” on the steps of the U.S. Capitol on the East side. CAREY continued to
film her own entry into the doors on the East side of the U.S. Capitol, stating “I’m putting my
goggles on, I think they’re going to try to tear gas us.” She also recorded herself yelling, “taking
back our house!” and “Stop the Steal!” at least eight times. She also yelled “We want Trump!”
and filmed police officers who tried to hold back individuals trying to enter the U.S. Capitol from
the East side. CAREY also filmed police officers who appeared to be hurt and stumbling before
turning her camera toward the crowd at the East side door.



                                                 2
                               Carey’s Entrance into the U.S. Capitol

       As the East side doors were forced open, and CAREY entered with a crowd at 2:43 p.m.
while wearing scuba goggles, which I know from my training and experience is a way to protect
against tear gas being deployed. On a video that she recorded after entering the U.S. Capitol,
CAREY stated, “we overtook the Capitol” and “we simply wanted to take our house back.” She
added, “We want our republic back. We will not allow the Chinese to overtake the United States
of America. We want to talk to Pelosi, we want to talk to Schumer, we want to talk to Pence.”




                                          Figure 1




                                              3
                                         Figure 2

                              Carey’s Activity Inside the U.S. Capitol

         As CAREY walked through the Rotunda, she filmed video while repeatedly proclaiming
“this is our house.”




                                         Figure 3

       As captured on CCTV, CAREY then stepped back out of the Rotunda.

                                             4
                                          Figure 4

        As captured on CCTV, CAREY stepped back inside the Rotunda and proceeded to Statuary
Hall.




                                             Figure 5




                                             5
        On CCTV, I saw that CAREY returned to the Rotunda before she stepped out of the
Rotunda for the last time and filmed the doors that she originally came through on the East side of
the U.S. Capitol.




                                                Figure 6

       As captured on a video she recorded of herself, CAREY joined another female rioter in
search of a bathroom. They walked throughout hallways on the Northern side of the U.S. Capitol,
which is where the Senate is, and paused only to look outside large windows on the East side of
the U.S. Capitol.




                                             Figure 7

        CAREY and the other female rioter asked a police officer for a bathroom, and the police
officer directed them downstairs, which led them to another police officer who was directing

                                                6
rioters outside through the Parliamentarian doors shortly after 3:00 p.m. In her interview with me,
CAREY stated that she returned to her bus by 3:45 p.m. for her return bus ride to Naples, Florida.

                       Carey’s Knowledge of the Proceedings at the U.S. Capitol

        On January 6, 2021, CAREY recorded a video where she talked about a rally where
President Trump would be speaking at nine. On this same video she said “it’s more than two hours
before the event,”while walking to the Ellipse. Also in this video she stated, “Georgia was a
disappointment last night; they stole it again. They’re getting really good at stealing elections.”
She went on to say “We’re here to support the POTUS, Stop the Steal, and save our country for
our children and grandchildren.” In another video she recorded of herself on January 6, 2021,
CAREY said, “we’re here at the Capitol and where Congress is in session and they’re voting,
certifying the votes.”

                 Carey’s Knowledge that Entering the Capitol was Prohibited

         Throughout her personal accounts – both videos she recorded herself and in Facebook
posts – CAREY described the “protesters” as “peaceful,” however, she directly contradicted
herself by also saying in a video she recorded and gave to the FBI: “Once [the police] knew we
were going to overpower them, like someone broke the glass on the Capitiol door, and once they
got in, they stood down, they stood back and stood down.” CAREY filmed rioters breaking
through the barriers and narrated the events as they were happening. She exclaimed, “they’re
storming the Capitol!” On the video she recorded herself, CAREY urged her fellow rioters to
“keep it peaceful” as violence unfolded and rioters clashed with police officers. As she followed
rioters who broke the barriers and ran up the steps on the East side of the U.S. Capitol, CAREY
shouted, “oh my gosh! We broke it! Go! Let’s Go! Oh my gosh. Oh my gosh. We’re going into
the Capitol.” CAREY captured on video that tear gas was deployed, and the video showed U.S.
Capitol police actively blocking rioters from getting into the building.

                                               Conclusion

       Based on the foregoing, your affiant submits that there is probable cause to believe that
CAREY violated 18 U.S.C. §1512(c)(2) which makes it a crime to corruptly obstruct, influence,
or impede any official proceeding, or attempt to do so.

        Your affiant submits there is also probably cause to believe that CAREY violated 18 U.S.C.
§ 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any restricted
building or grounds without lawful authority to do so; and (2) knowingly, and with intent to impede
or disrupt the orderly conduct of Government business or official functions, engage in disorderly
or disruptive conduct in, or within such proximity to, any restricted building or grounds when, or
so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or
official functions.

       Your affiant submits there is also probable cause to believe that CAREY violated 40 U.S.C.
§ 5104(e)(2)(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,


                                                7
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; (G) parade, demonstrate, or picket in any of the Capitol
Buildings.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 20th day of February 2024.                              Zia M. Faruqui
                                                                     2024.02.20
                                                                     11:48:15 -05'00'
                                                     ___________________________________
                                                     ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE




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